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                        BEFORE THE UNITED STATES
               JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


       IN RE: FTX LITIGATION                            MDL Docket ________



                             SCHEDULE OF ACTIONS

       Case Captions               Court            Civil Action No.           Judge

Plaintiffs:                    United States         1:22-cv-23753        K. Michael Moore
Edwin Garrison,              District Court for    (First Filed Action)
Gregg Podalsky,                the Southern
Skyler Lindeen,              District of Florida
Alexander Chernyavsky,
Gary Gallant and
David Nicol
Sunil Kavuri

Defendant:
Samuel Bankman-Fried,
Thomas Brady,
Gisele Bundchen,
Kevin OLeary,
Udonis Haslem,
David Ortiz,
Stephen Curry,
Golden State Warriors LLC,
Shaquille ONeal,
William Trevor Lawrence,
Shohei Ohtani,
Naomi Osaka and
Lawrence Gene David
Caroline Ellison,
Sam Trabucco,
Gary Wang,
Nishad Singh,
Dan Friedberg,


Plaintiffs:                    United States         1:22-cv-23983        K. Michael Moore
Gregg Podalsky,              District Court for    (Consolidated with
Skyler Lindeen,                the Southern           Garrison v.
Alexander Chernyavsky,       District of Florida    Bankman-Fried)
Gary Gallant and
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David Nicol

Defendant:
Samuel Bankman-Fried,
Thomas Brady,
Gisele Bundchen,
Kevin OLeary,
Udonis Haslem,
David Ortiz,
Stephen Curry,
Golden State Warriors LLC,
Shaquille ONeal,
William Trevor Lawrence,
Shohei Ohtani,
Naomi Osaka and
Lawrence Gene David
Caroline Ellison,
Sam Trabucco,
Gary Wang,
Nishad Singh,
Dan Friedberg,


Plaintiff:                     United States        1:23-cv-20439     Cecilia M. Altonaga
Shengyun Huang               District Court for
Michael Livieratos             the Southern
Michael Norris               District of Florida
Brandon Rowan
Vijeth Shetty
Bo Yang

Defendant:
Thomas Brady,
Kevin OLeary, and
David Ortiz

Plaintiff:                    United States        3:2022-cv-07666   Jacqueline Scott Corley
Michael Elliott Jessup       District Court for      (Motion to
                               the Northern          Consolidate
Defendant:                      District of        pending in Lam)
Samuel Bankman-Fried,           California
Caroline Ellison,
Nishad Singh,
Gary Wang and
Sam Trabucco
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Plaintiff:                      United States       3:2022-cv-07620   Jacqueline Scott Corley
Russell Hawkins                District Court for     (Motion to
                                 the Northern         Consolidate
Defendant:                        District of
                                                    pending in Lam)
Samuel Bankman-Fried,             California
Caroline Ellison,
Zixiao Gary Wang,
Nishad Singh,
Armanino, LLP and
Prager Metis CPAs, LLC


Plaintiffs:                     United States       3:2022-cv-07444   Jacqueline Scott Corley
Stephen T Pierce               District Court for     (Motion to
                                 the Northern         Consolidate
Defendants:                       District of
                                                    pending in Lam)
Samuel Bankman-Fried,             California
Caroline Ellison,
Zixiao Wang,
Nishad Singh,
Armanino, LLP and
Prager Metis CPA's

Plaintiffs:                     United States       3:2022-cv-07336   Jacqueline Scott Corley
Elliott Lam                    District Court for     (Motion to
(petitioner: Michael Elliott     the Northern         Consolidate
Jessup, Stephen T Pierce and      District of          pending)
Julie Chon Papadakis)             California

Defendants:
Sam Bankman-Fried, Caroline
Ellison and
Golden State Warriors, LLC

Plaintiffs:                     United States       3:2023-cv-00024   Jacqueline Scott Corley
Julie Chon Papadakis           District Court for     (Motion to
                                 the Northern         Consolidate
Defendant:                        District of       pending in Lam)
Samuel Bankman-Fried,             California
Caroline Ellison,
Zixiao Gary Wang,
Nishad Singh,
Armanino LLP and
Prager Metis CPAs, LLC
            Case Pending No. 4 Document 1-2 Filed 02/10/23 Page 4 of 4




Plaintiff:                         United States       3:2022-cv-01981     Roger T. Benitez
Joewy Gonzalez                    District Court for
                                    the Southern
Defendants:                          District of
Silvergate Bank,                     California
Silvergate Capital Corporation,
and
Alan J. Lane

Plaintiffs:                        United States       3:2022-cv-01901     Roger T. Benitez
Jose Tomas Sepulveda Zuleta,      District Court for      (Notice of
Michael Lehrer, and                 the Southern          Voluntary
Tristan Newman                       District of        Dismissal Filed
                                     California        February 9, 2023)
Defendants:
Silvergate Capital Corporation,
Alan J. Lane,
Christopher M. Lane,
Tyler J. Pearson, and
Jason Brenier

Plaintiffs:                        United States       3:2023-cv-00038     Roger T. Benitez
Andrawes Husary,                  District Court for      (Notice of
Francisco De Tomaso,                the Southern          Voluntary
Soham Bhatia, and                    District of        Dismissal Filed
Michael Hawwa                        California        February 9, 2023)
Defendants:
Silvergate Bank,
Silvergate Capital Corporation,
and Alan J. Lane
